            Case 1:24-cr-00074-RP Document 23 Filed 06/14/24 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION
 UNITED STATES OF AMERICA                         §
                                                  §
 v.                                               §
                                                  §           No. 1:24-CR-00074-RP-1
                                                  §
 JASON PENNEY,                                    §
     Defendant                                    §


                                             ORDER

      Before the Court is Defendant’s Unopposed Motion for Permission to Travel, filed June 11,

2024 (Dkt. 20). The District Court referred the motion to this Magistrate Judge for resolution,

pursuant to 18 U.S.C. § 3006A(b), 28 U.S.C. § 636(b)(1)(A), and Rule 44 of the Federal Rules of

Criminal Procedure. Dkt. 82.

      On April 30, 2024, Defendant appeared in Court pursuant to a summons and pled guilty to one

count of Conspiracy to Commit Wire Fraud, in violation of 18 U.S.C. § 3149. Dkt. 17. The same

day, he surrendered his passport to this Court and was released on a $50,000 appearance bond.

Dkt. 16. In the Order Setting Conditions of Release, Defendant’s travel was restricted to Volusia

County, Florida and its surrounding counties, with travel otherwise permitted to the Western

District of Texas for court purposes and to Houston to meet with counsel. Dkt. 15, condition (7)(f).

Defendant’s sentencing is set for August 2, 2024, before the Honorable Robert Pitman. Dkt. 18.

      In the Motion, Defendant asks the Court to modify his conditions of release to permit him to

make two trips: (1) from Orlando, Florida to Dallas from June 19 through June 25, 2024, for his

daughter’s participation in the Volleyball Nationals competition; and (2) from Orlando to

Fort Moore, Georgia from July 2 through July 6, 2024, for his son’s Army Graduation Ceremony.



                                                 1
          Case 1:24-cr-00074-RP Document 23 Filed 06/14/24 Page 2 of 2




The Government and Defendant’s supervising officers with U.S. Pretrial Services do not oppose

the Motion.

   Having carefully considered the facts and circumstances of Defendant’s case, Defendant’s

Request to Travel is GRANTED. IT IS ORDERED that Paragraph 7(f) of Defendant’s

Additional Conditions of Release (Dkt. 15) is AMENDED as follows:

              The defendant must abide by the following restrictions on personal
              association, residence, or travel: Defendant is permitted to travel to
              Dallas, Texas, departing on June 19, 2024 and returning on June 25,
              2024, and to Fort Moore, Georgia, departing on July 2, 2024 and
              returning on July 6, 2024. Defendant is ORDERED to text his
              Supervising Officer daily while traveling. Otherwise, Defendant’s
              travel is restricted to Volusia County, Florida and its surrounding
              counties unless approved by U.S. Pretrial Services or the Court.
              Defendant may travel to the Western District of Texas for the
              purpose of court and to Houston, Texas to meet with counsel.

   Defendant’s release remains subject to all conditions in the Order Setting Conditions of

Release as hereby amended.

   SIGNED on June 14, 2024.


                                                     SUSAN HIGHTOWER
                                                     UNITED STATES MAGISTRATE JUDGE




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